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                                                   Wednesday, 09 May, 2018 03:00:18 PM
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS Clerk, U.S. District Court, ILCD
                               URBANA DIVISION

 U.S. EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,
                                                    Case No. 16-cv-2222
        Plaintiff,

        v.                                          Magistrate Judge Long

 RENT-A-CENTER EAST, INC.,

        Defendant.


                                    PRE-TRIAL ORDER

       This matter having come before the Court at a pre-trial conference held pursuant to Rule

16 of the Federal Rules of Civil Procedure and Local Rule 16.1; and Miles Shultz and Justin

Mulaire having appeared as counsel for the plaintiff, and Andrew Trusevich and Stephanie

Quincy having appeared as counsel for defendant, the following action was taken.

                      I. NATURE OF ACTION AND JURISDICTION

       This is an action under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§ 2000 et seq., and the jurisdiction of the Court is invoked under 28 U.S.C. §§ 451, 1331, 1337,

1343, and 1345. The jurisdiction of the Court is not disputed.

                                   II. JOINT STATEMENT

       A. PROPOSED JOINT STATEMENT OF THE CASE

       The parties jointly propose the following statement of the case for use with the jury:

               This is a lawsuit brought under Title VII of the Civil Rights Act,
               which prohibits discrimination in the workplace. The case was
               brought by the plaintiff, the United States Equal Employment
               Opportunity Commission (sometimes referred to as the “EEOC” for
               short), against the defendant, Rent-A-Center East, Inc. The case
               arises out of Megan Kerr's employment with Rent-A-Center as an
               assistant manager at the Rent-A-Center store in Rantoul, Illinois.




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                 The EEOC claims that Rent-A-Center terminated Ms. Kerr's
                 employment in July 2014 because she is transgender. Rent-A-
                 Center denies that and contends that it terminated Ms. Kerr for
                 unauthorized use of a company vehicle. You will hear evidence
                 about this dispute.

        B. JURISDICTION

        The jurisdiction of the Court is invoked under 28 U.S.C. §§ 451, 1331, 1337, 1343, and

1345. The jurisdiction of the Court is not disputed.

        C. UNCONTESTED ISSUES OF FACT

        1.       The Plaintiff, the United States Equal Employment Opportunity Commission

(“EEOC”), is an agency of the United States Government that is responsible for the enforcement

of Title VII of the Civil Rights Act, and is authorized to bring this action.

        2.       The Defendant, Rent-A-Center East, Inc. (“Rent-A-Center” or “RAC”), is a

Delaware corporation, and at all relevant times was a corporation doing business in the Central

District of Illinois.

        3.       At all relevant times, RAC was an employer within the meaning of Title VII.

        4.       At all relevant times, RAC has had at least 15 employees.

        5.       At all relevant times, Megan Vanna (Kerr)1 was an employee of RAC within the

meaning of Title VII.

        6.       In at least 20 calendar weeks in the year 2014, RAC had more than 500

employees.

        7.       RAC is a rent-to-own retailer of furniture, electronics, appliances, and computers.

        8.       All conditions precedent to the filing of this suit have been fulfilled.



1
 After the events at issue in this case, Ms. Kerr’s last name changed to Vanna. For consistency,
and because witnesses and documents refer to her by the surname Kerr, she is referred to that
way throughout.
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       9.      Kerr was employed by Rent-A-Center beginning in or around May 2005.

       10.     Kerr was an assistant manager at Rent-A-Center store no. 319, in Rantoul, Illinois

from July 2010 until July 2014.

       11.     Kerr is transgender. That is, her gender identity (female) is different from the sex

she was designated at birth (male).

       12.     Kerr informed Rent-A-Center in March 2013 that she was changing her name and

gender presentation.

       13.     Throughout 2013 and 2014, Jason Carnahan was the District Manager who

oversaw the Rantoul Store and was the immediate supervisor of the Rantoul Store’s store

manager.

       14.     In December 2013, Rent-A-Center discharged Russell Kasper.

       15.     In or around February 2014, Rent-A-Center assigned Jason Morris to be the new

store manager of the Rantoul Store.

       16.     At all relevant times, David Leavengood was Kerr’s regional director.

       17.     Rent-A-Center terminated Kerr on Monday, July 21, 2014.

       18.     Kerr made $13.53 per hour at Rent-A-Center and worked full-time at the time she

was terminated.

       19.     Rent-A-Center operates approximately 2,463 stores within the United States.

       20.     As of the end of December 2016, the most recent year for which data is available,

Rent-A-Center’s net worth was $264,933,000.

       D. CONTESTED ISSUES OF FACT

       1.      Whether RAC discharged Kerr because she is transgender.




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          2.     Whether RAC acted with malice or reckless indifference to the federally protected

rights of Ms. Kerr.

          3.     The appropriate amounts of backpay, compensatory, and punitive damages.

          E. CONTESTED ISSUES OF LAW

          1.     The standard for causation: The EEOC contends the legal standard is “was Kerr’s

transgender status a motivating factor in RAC’s decision to terminate her employment.” RAC

contends the legal standard is “did RAC terminate Kerr’s employment ‘because’ of her

transgender status.”

          F. JURY DEMAND

          The EEOC requests a jury trial on liability, compensatory, and punitive damages.

Equitable relief, including back pay, prejudgment interest and the determination of injunctive

relief, to be determined by the Court.

                                 III. PLAINTIFF’S STATEMENT

          A. ITEMIZED STATEMENT OF DAMAGES

          The EEOC is seeking back pay for Ms. Kerr from July 21, 2014, through July 30, 2016.

EEOC also seeks compensatory and punitive damages in amounts to be determined by the jury.

Although by statute a jury may not be informed of the statutory caps on compensatory and

punitive damages, the EEOC understands that the total amount of compensatory and punitive

damages included in any judgment may not exceed $300,000. See 42 U.S.C. § 1981a(b)(3)(D),

(c)(2).

          The EEOC also seeks equitable relief, to be determined by the Court, including: (i) back

pay; (ii) prejudgment interest; (iii) a permanent injunction enjoining RAC, its officers,

successors, assigns, and all persons in active concert or participation with it, from engaging in



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any employment practice that violates Title VII, including discriminating against employees or

application on the basis of sex; (iv) a permanent injunction requiring RAC to institute and carry

out policies, practices, and programs which eradicate the effects of its past and present unlawful

employment practices; and (v) such further relief as the Court deems necessary and proper,

including, without limitation, an order requiring RAC to provide its managers and human

resources staff with training on Title VII, post a notice advising employees of the outcome of this

action, and keep records of requests for reasonable accommodation and make periodic reports to

the EEOC regarding the handling of such requests.

       The EEOC also seeks an award of its costs in this action.

                         IV. WAIVER OF CLAIMS OR DEFENSES

       None.

                                   V. EXHIBITS ATTACHED

       The following are attached as exhibits to this order and are made a part hereof:

   A. Plaintiff's Witness List.

   B. Defendant's Witness List.

   C. Plaintiff's Exhibit List.

   D. Defendant's Exhibit List.

                                  VI. GENERAL ADDITIONAL

The following additional action was taken:

       A party may supplement a list of witnesses or exhibits only upon good cause shown in a

motion filed and served upon the other parties prior to trial; except that, upon the development of




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testimony fairly shown to be unexpected, any party may, with leave of court, call such contrary

witnesses or use such exhibits as may be necessary to counter the unexpected evidence, although

not previously listed, and without prior notice to any other party.

       It is mutually estimated that the length of trial will not exceed 5 full days. The case will

be listed on the trial calendar to be tried when reached.

       The parties have stipulated to treat Mary Ann Kelly and Marcy Bussman as unavailable,

in the interest of justice, within the meaning of Fed.R.Civ.P. 32(a)(4).

       Once a final version of this order has been approved by the Court, it may be modified at

the trial of the action, or prior thereto, only to prevent manifest injustice. Such modification may

be made either on motion of counsel for any party or on the Court’s own motion.



IT IS SO ORDERED.
s/ ERIC I. LONG
Eric Long
United States Magistrate Judge


APPROVED AS TO FORM AND SUBSTANCE:

 s/ Justin Mulaire                                   s/ Helene Wasserman
 U.S. Equal Employment                               Helene Wasserman
 Opportunity Commission                              Littler Mendelson, P.C.
 33 Whitehall St., Fl. 5                             633 West Fifth St., 63rd Floor
 New York, NY 10004                                  Los Angeles, CA 90071
 212.336.3744                                        213.443.4300

 Miles Shultz                                        Andrew Trusevich
 U.S. Equal Employment                               Texas Bar No. 00785119
 Opportunity Commission                              RENT-A-CENTER, INC.
 500 W. Madison St., Ste. 2000                       5501 Headquarters Drive
 Chicago, IL 60661                                   Plano, Texas 75024
 312.869.8053                                        972.801.1465


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                       EXHIBIT LIST FOR PLAINTIFF

No:             Description          Admit Without   Authentication     Objection
                                       Objection        Waived
 1            RAC’s Position              No              No            Relevance
                Statement                                             (Fed. R. Evid.
             (RAC000028-33)                                             401, 402),
                                                                      Prejudice (Fed.
                                                                      R. Evid. 403),
                                                                      Hearsay (Fed.
                                                                      R. Evid. 801),
                                                                      Hearsay within
                                                                      Hearsay (Fed.
                                                                      R. Evid. 805).
 2           Morris Declaration              No           No            Relevance
             (RAC000063-64)                                           (Fed. R. Evid.
                                                                        401, 402),
                                                                      Prejudice (Fed.
                                                                      R. Evid. 403),
                                                                      Hearsay (Fed.
                                                                      R. Evid. 801).
 3          Carnahan Declaration             No           No            Relevance
             (RAC000061-62)                                           (Fed. R. Evid.
                                                                        401, 402),
                                                                      Prejudice (Fed.
                                                                      R. Evid. 403),
                                                                      Hearsay (Fed.
                                                                      R. Evid. 801).
 4            Wilkerson Record               Yes          Yes
                (RAC000523)
 5           Parking Lot Picture             Yes          Yes
                (RAC000777)
 6          Kerr’s 2014 RAC W-               Yes          Yes
               2 (EEOC0366)
 7           Job Advertisements              Yes          Yes
              (EEOC0292-300)
 8           RAC’s Response to               Yes          No
               EEOC’s Tenth
            Interrogatory (April
                  24, 2017)
 9           RAC’s Response to
              EEOC’s Seventh
              Interrogatory and
            Verification (Oct. 7,
                    2016)


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10      RAC’s Response to
         EEOC’s Eleventh
         Interrogatory and
        Verification (May 8,
               2017)




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                            EXHIBIT LIST FOR DEFENDANT

                                            Admit
                                                     Authentication
No.                 Description            Without                        Objection
                                                        Waived
                                           Objection
  1.    Complaint                                          X            Relevance; 403
        EEOC Press Release
  2.                                                       X            Relevance; 403
        (RAC00395-396
        Plaintiff EEOC’s Response to
                                                                       Relevance; 403;
  3.    Defendant’s First Set of                           X
                                                                        completeness
        Interrogatories to Plaintiff
        Plaintiff EEOC’s First
        Supplemental Response to                                       Relevance; 403;
  4.                                                       X
        Defendant’s First Set of                                        completeness
        Interrogatories to Plaintiff
        Verification for EEOC’s
        Answers to Defendant’s First Set
  5.                                                       X              Relevance
        of Interrogatories to EEOC dated
        October 24, 2016
        Charge of Discrimination dated                                  Relevance; 403;
  6.    November 23, 2014                                  X          hearsay; EEOC MIL
        (EEOC00023)                                                          No. 2
                                                                        Relevance; 403;
        Megan Kerr’s, My Indeed
  7.                                                       X          EEOC MIL Nos. 2,
        Resume (EEOC0288-291)
                                                                              9-10
     Key Accounts Representative –
                                                                       Relevance; 403;
  8. Entry Level application                               X
                                                                      EEOC MIL No. 10
     submission (EEOC0292-293)
     Megan Kerr’s “Leading the way,                                    Relevance; 403;
  9. setting new standards” resume                         X          EEOC MIL Nos. 2,
     (EEOC0301-302)                                                         9-10
                                                                       Relevance; 403;
        Kerr’s resume with photograph
  10.                                                      X          EEOC MIL Nos. 2,
        (EEOC00303-304)
                                                                            9-10
        MeganLynn Vanna’s                                              Relevance; 403;
  11. “Artist/Owner” LinkedIn resume                       X          EEOC MIL Nos. 2,
        (EEOC0305-0308)                                                     9-10
                                                                       Relevance; 403;
        Kerr’s “small paper route”
  12.                                                      X          EEOC MIL Nos. 2,
        resume (EEOC0309-310)
                                                                            9-10




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      Job application submissions
      from indeed.com (EEOC0294—
      300), Snagajob.com application
                                                            Relevance; 403;
13.   submissions (EEOC0311-313,                      X
                                                           EEOC MIL No. 10
      EEOC0328-0334, EEOC0337-
      0357), and LinkedIn.com applied
      jobs (EEOC0314-327)
      Food4Less job submission                              Relevance; 403;
14.                                                   X
      (EEOC0335-336)                                       EEOC MIL No. 10
      Equal Employment Opportunity                          Relevance; 403;
15.   Commission Intake                               X   hearsay; EEOC MIL
      Questionnaire (EEOC0065-68)                                No. 2
      Email from MeganLynn Vanna
      to EEOC Investigator, Gloria
      Mayfield dated December 22,
      2015 (Kerr Deposition Exhibit
      RAC 9), Email from Gloria
      Mayfield to MeganLynn Vanna
      dated February 3,2016 (Kerr
      Deposition Exhibit RAC 11),
      Email from MeganLynn Vanna
      to Miles Shultz - Email to
      craigslist job posting “tattoo                        Relevance; 403;
16.   artist needed” applied to on                    X   hearsay; EEOC MIL
      November 2, 2014 (EEOC0284),                             Nos. 9-10
      Email from MeganLynn Vanna
      to Miles Shultz - Email to
      craigslist job posting for a “legal
      coordinator” applied to on
      February 13, 2014 (EEOC0285),
      and Email from MeganLynn
      Vanna to Miles Shultz - Email
      job posting for a “Associate
      Estimator” dated April 22, 2014
      (EEOC0286)
      EEOC Investigator notes
                                                          Relevance; 403; notes
      (EEOC0037, EEOC0046-49,
                                                            contain hearsay;
17.   EEOC55-56, EOC0005,                             X
                                                           EEOC MIL Nos. 2,
      EEOC0045, EEOC0050-54,
                                                                   10
      EEOC0039-44, EEOC0038)




                                            10
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    Typed EEOC Investigator notes
    (RAC000375, RAC000379,
    RAC000382-384, RAC000378,                          Relevance; 403; notes
    RAC000387-390, RAC000380-                            contain hearsay;
18.                                                X
    381, RAC000391-394,                                 EEOC MIL Nos. 2,
    RAC000377, RAC000376,                                       10
    RAC000374, RAC000385-386,
    RAC000372-373, RAC000371)
    EEOC Investigator Gloria
    Mayfield’s notes dated                             Relevance; 403; notes
19.                                                X
    September 17, 2015                                    contain hearsay
    (EEOC0084-91)
    Rent-A-Center Coworker
    Handbook excerpts from
20.                                       X
    February 2014 (RAC000744-
    750)
21. Open Door Policy (EEOC0110)           X
      Rent-A-Center’s Coworker
      Handbook Acknowledgment
22.                                                X        Relevance
      signed by Jason Kerr dated May
      21, 2005 (EEOC0112)
      Rent-A-Center’s Coworker
      Integrity Commitment signed by
23.                                                X        Relevance
      Jason Kerr dated May 21, 2005
      (EEOC0113)
      Rent-A-Center’s
      Manager/Supervisor Integrity
24.   Commitment signed by Jason                   X        Relevance
      Kerr dated March 8, 2007
      (EEOC0114)
      RAC Workplace behavior
      Training Store Employee Listing
25.                                                X        Relevance
      Checklist dated January 13, 2012
      (EEOC0115)
      Jason Kerr’s Webhire Candidate                     Relevance; 403;
26.
      details (EEOC0178-180)                            EEOC MIL No. 9
      Assistant Manager Job
27.                                                X        Relevance
      Description (EEOC0228)
      Lease (Ink’s Mistress Tattoo                       Relevance; 403;
28.                                                X
      Shop) (EEOC0372-382)                              EEOC MIL No. 9
      R.J. flat’s – 105 E. State Rent
                                                         Relevance; 403;
29.   Collection form. (RAC000275-                 X
                                                        EEOC MIL No. 9
      289)



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      Performance Discussion                                Relevance; 403;
30.   Summaries from Jason Carnahan                    X   hearsay; RAC MIL
      to Russell Kasper (EEOC0219)                               No. 2
      Performance Discussion                                Relevance; 403;
31.   Summaries from Jason Carnahan                    X   hearsay; RAC MIL
      to Russell Kasper (EEOC0218)                               No. 2
      Performance Discussion                                Relevance; 403;
32.   Summaries from Jason Carnahan                    X   hearsay; RAC MIL
      to Russell Kasper (EEOC0217)                               No. 2
      Handwritten letter from Jason
      Kerr to Russell Kasper with                          Hearsay; 403 (Kerr’s
33.   change of name documents.                        X   transgender status is
      (EEOC0358-362, EEOC0365,                                 uncontested)
      EEOC0419-420)
      Performance Discussion
      Summary from Russell Kasper                            Relevance; 403;
34.                                                    X
      to Roger Harding dated June 18,                            hearsay
      2012 (EEOC0188)
      Rent-A-Center’s Coworker
      Handbook Acknowledgment
35.                                                    X        Relevance
      (Russell Kasper Deposition
      Exhibit RK #5)
      Coworker Integrity Commitment
      signed by Russell Kasper dated
36.                                                    X        Relevance
      June 25, 2005 (Russell Kasper
      Deposition Exhibit RK#6)
      Color photograph of Store 00319
37.   parking lot dated July 20, 2014         X
      (RAC0000777)
      Letter from CEO Mark Speese
      and Mitch Fadel to All
38.                                           X
      Coworkers dated June 1, 2012
      (RAC000008)
                                                             Relevance; 403;
      United States Army records                           hearsay; compound
39.                                                    X
      (RAC000593-639)                                      exhibit; EEOC MIL
                                                                  No. 9
                                                             Relevance; 403;
      Moraine Valley Community
                                                            compound exhibit;
40. College records (RAC000471-                        X
                                                           hearsay; EEOC MIL
      522)
                                                                Nos. 9-10
      Village of Rantoul, Illinois –                         Relevance; 403;
41. Department of Public Works                         X    compound exhibit;
      records (RAC000660-673)                               EEOC MIL No. 9



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                                                         Relevance; 403;
    Illinois Department of
                                                        compound exhibit;
42. Employment Security records                    X
                                                       hearsay; EEOC MIL
    (RAC00412-469)
                                                           Nos. 2, 9-10
      2013-2016 Wage and Tax
      Statements (EEOC367-368,
                                                        Relevance; EEOC
43.   EEOC0407-408, EEOC0366,                      X
                                                          MIL No. 10
      EEOC0409-0417, EEOC0430-
      0433)
      Performance Discussion
      Summary from Jason Carnahan                       Relevance; 403;
44.                                                X
      to Brock Duncan-Fox                                   hearsay
      (EEOC0235)
      Performance Discussion
                                                        Relevance; 403;
45.   Summary from Jason Carnahan                  X
                                                            hearsay
      Jason Morris (EEOC0236)
      Letter from Megan Kerr to
                                                         Relevance; 403;
      MaryAnn Kelly with
46.                                                X   hearsay; EEOC MIL
      MoneyGram receipt
                                                              No. 9
      (RAC000296)
      Solution Center ticket                             Relevance; 403;
47.   information dated July 24, 2014              X   hearsay; EEOC MIL
      (RAC000691-692)                                         No. 8
      Solution Center ticket
      information (RAC000683-684,
      RAC000689-690. RAC000687-                          Relevance; 403;
48.   688, RAC000685-686,                          X   hearsay; EEOC MIL
      RAC000695-696, RAC000697,                               No. 8
      RAC000693-694. RAC000691-
      692.
                                                         Relevance; 403;
      Verizon phone records.
49.                                                X   hearsay; EEOC MIL
      (RAC000698-699)
                                                              No. 8
      Incoming call records to
                                                       Relevance; hearsay;
50. telephone number (800)675-
                                                       untimely disclosed
      0825 (RAC000753-754)
      Sprint phone records
51.                                       X
      (RAC00403-404)
      Purchase information by
52.   customer Amy Wilkerson              X
      (RAC000523)
      Amber Shumate Facebook posts                      Relevance; 403;
53.
      (RAC000524-533)                                       hearsay
      Code of Business Conduct and
54.   Ethics dated July, 2011                      X       Relevance
      (RAC000006-000007)

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      Instructions on Preparing for
55.   Workplace Behavior Training                 X       Relevance
      (RAC000010-000011)
      Workplace Behavior Training
56.   Facilitation Guide (RAC000012-              X       Relevance
      000022)
      Completed Training Record for
      Harding, Kerr, Kasper, Morris,
57.   Miller, Reeves, Moreland,                   X       Relevance
      Coleman, Meister and Kaspov
      (RAC000024-000025)
      Recording of All Hours Worked
58.   Acknowledgement Form signed                         Relevance
      by Kerr (RAC000153)
      Diagram of Rent-A-Center space
59.                                      X
      (RAC000370)
      Order for Change of Name
60.                                               X     Relevance; 403
      (RAC000516)
      Terminations for Unauthorized
      Use of Company Vehicle in
61.   Illinois Between May 1, 2011                      Relevance; 403
      and November 23, 2015
      (EEOC0190)
      5/10/08 Change Notice –                          Relevance; 403;
62.   Promotion for Russell Kasper                      completeness;
      (RAC0000730)                                    untimely disclosed
      10/28/09 Change Notice –
                                                       Relevance; 403;
63.   Promotion for Russell Kasper
                                                      untimely disclosed
      (RAC000731)
      Team Member Handbook
      Acknowledgment signed by                        Relevance; untimely
64.
      Carnahan dated12/4/99                                disclosed
      (RAC000724)
      Team Member Handbook
      Acknowledgment signed by                        Relevance; untimely
65.
      Carnahan dated 9/5/00                                disclosed
      (RAC000725)
      Manager/Supervisor Integrity
                                                      Relevance; untimely
66.   Commitment signed by
                                                           disclosed
      Carnahan (RAC000729)
      Manager/Supervisor Integrity
                                                      Relevance; untimely
67.   Commitment signed by Kober
                                                           disclosed
      (RAC000728)
      Coworker Handbook
                                                      Relevance; untimely
68.   Acknowledgment signed by
                                                           disclosed
      Kober (RAC000726 )

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      Coworker Integrity Commitment                   Relevance; untimely
69.
      signed by Kober (RAC000727 )                         disclosed
      Coworker Handbook
                                                      Relevance; untimely
70.   Acknowledgment signed by Bell
                                                           disclosed
      (RAC000752)
      Manager/Supervisor Integrity
                                                      Relevance; untimely
71.   Commitment signed by Bell
                                                           disclosed
      (RAC000751)
      Coworker Handbook
                                                      Relevance; untimely
72.   Acknowledgment signed by
                                                           disclosed
      Kasapov (RAC000741)
      Co-Worker Integrity
                                                      Relevance; untimely
73.   Commitment signed by Kasapov
                                                           disclosed
      (RAC000742-743)
      Declaration of Jason Carnahan
74.                                      X
      (RAC000061-000062)
      Declaration of Russell Kasper
75.                                               X   Relevance; hearsay
      (EEOC0279-0280)
      Declaration of Jennifer
76.                                               X   Relevance; hearsay
      McCallister (EEOC0434)
      Declaration of Michael J.
77.                                               X   Relevance; hearsay
      Moreland, Jr. (EEOC0453)
      Declaration of Jason Morris
78.                                      X
      (RAC000063-64)
      Declaration of Frank Piekarski
79.                                      X
      (EEOC0435)
      Declaration of Eleena Reeves
80.                                               X   Relevance; hearsay
      (RAC000065-66)




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                          WITNESS LIST FOR PLAINTIFF

    Witness Name          Address (City and            Expert       Adverse

                              State Only)

Jason Carnahan          Streator, IL                            X

Russell Kasper          Rantoul, IL

Mary Ann Kelly          Milford, IL
(BY DEPOSITION)
David Leavengood        Hannibal, MO                            X
(BY DEPOSITION)
Michael Moreland, Jr.   Rantoul, IL

Jennifer McCallister    Rantoul, IL

Jason Morris            Rantoul, IL                             X

Frank Piekarski         Harvey, IL

Dan Roling              Palm Harbor, FL                         X
(BY DEPOSITION)
Amber Shumate           Royal, IL
(Wilkerson)
Megan Vanna (Kerr)      Chicago, IL




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                          WITNESS LIST FOR DEFENDANT

     Witness Name          Address (City and           Expert   Adverse

                               State Only)

Pastor Albert Bennett     Rantoul, IL

Nakia Bell                Plano, Tx

Marcie y. Bussman         Mahomet, IL

Jason Carnahan            Streator, IL

Maria Clatterbuch         McKinney, Tx

Calvin Davis              Sherman, TX

Brock Duncan-Fox          Rantoul, IL

Roger Harding             Gifford, IL

Alexander Kasapov         Gifford, IL

Russell Kasper            Rantoul, IL                             X

Mary Ann Kelly            Milford, IL

Dan Kober                 Pekin, IL

David Leavengood          Hannibal, MO

Joseph Leith              Indianapolis, IN

Gloria Mayfield           Oak Brook, IL                           X

Jennifer McCallister      Rantoul, IL

Michael J. Moreland, Jr   Rantoul, IL

Jason Morris              Rantoul, IL

Charles O’Neil            McKinney, Texas

Frank Piekarski           Harvey, IL

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Elena Reeves

Dan Roling                   Palm Harbor, FL

Amber Shumate                Royal, IL                    X

Richard Thompson             Paxton, IL

Marissa Torres               Plano, Texas

Megan Vanna (Kerr)           Chicago, IL                  X

Russell Wiedemann            Deceased - Video
Corporate Representative
of the Equal Employment      Chicago, IL                  X
Opportunity Commission
Corporate Representative
of the Illinois Department   Belleville, IL
of Employment Security
Corporate Representative
of Moraine Community         Palos Hills, IL
College
Corporate Representative
of the Village of Rantoul    Rantoul, IL
Utilities (Carla Toliver)




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